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                                       UNITED STATES BANKRUPTCY COURT
        8                              EASTERN DISTRICT OF WASHINGTON
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                                                                 Chapter 11
      10     IN RE:
                                                                 Case No. 21-00141-WLH11 and
      11     Easterday Ranches, Inc. and Easterday Farms,        Case No. 21-00176-WLH11
             a Washington general partnership,
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                                                                 AGREED ORDER ON MOTION FOR
      13                    Debtors.                             RELIEF FROM AUTOMATIC STAY
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      15              Based upon the agreement of Santander Consumer USA Inc. dba Chrysler Capital, its
      16     assignees and/or successors (“Creditor”), and debtor Easterday Farms, a Washington general
      17     Partnership (“Debtor”), by and through its respective counsel, it is hereby ORDERED as
      18     follows:
      19     1. This     order   affects   the   following       two      vehicles:     (1)    2018      Ram       3500
      20        VIN: 3C63R3AL4JG277090, and (2) 2018 Ram 3500 VIN: 3C63R3ALXJG374391
      21        (collectively, the “Vehicles” and each, a “Vehicle”). The parties have stipulated to the terms
      22        of this order, which are non-modifiable without the parties’ written consent.
      23     2. Debtor shall remit to Creditor the sum of $60,000.00 (the “Funds”) ($30,000.00 for each of
      24        the Vehicles) in full and complete satisfaction of Creditor’s claim(s) for each Vehicle.
      25     3. Within fourteen (14) calendar days after the Funds are received by Creditor, Creditor shall
      26        release and send titles for both Vehicles to Debtor’s counsel or such other address indicated
      27        by Debtor’s counsel.
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                                                                 Stipulation, Case No. 21-00141-WLH11 and 21-00176-WLH11
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             4. Upon Creditor’s receipt of the Funds, Claim Nos. 30 and 87 (Case No. 21-00176-WLH11)
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                and Claim No. 34 (Case No. 21-00141-WLH11) shall be deemed withdrawn with prejudice
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                in every respect, and Creditor shall be deemed to have fully and forever released, waived,
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                and discharged any and all claims, interests, obligations, rights, suits, damages, causes of
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                action, remedies, and liabilities whatsoever, asserted or assertable by or on behalf of
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                Creditor, whether known or unknown, foreseen or unforeseen, existing or hereafter arising, in
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                state or federal law, equity, or otherwise, against the Debtors and their respective officers,
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                directors, managers, members, employees, investors, principals, representatives, and
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                affiliates, arising from, related to, or in connection with the Debtors (whether prepetition or
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                postpetition).
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             5. Creditor shall have no deficiency claim(s) against the Debtors, the Debtors’ estates, or any
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                other third party in relation to the Vehicles.
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             6. Payment shall be made directly to Santander Consumer USA Inc. dba Chrysler Capital, 5201
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                Rufe Snow Drive, Ste. 400, North Richland Hills, TX 76180, or as otherwise agreed on by
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                the parties.
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             7. The fourteen (14) day stay provided in Fed. R. Bankr. P. 4001(a)(3) is waived, and the terms
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                and conditions of this order shall be immediately effective and enforceable upon its entry.
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             8. The court shall retain jurisdiction and power to hear and determine all matters arising from or
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                related to the implementation of this order.
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      21                                           /// END OF ORDER ///
      22
             Submitted by:
      23
             MCCARTHY & HOLTHUS, LLP
      24
      25      /s/ Lance E. Olsen
             Lance E. Olsen, WSBA# 25130
      26     Attorney for Creditor
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             Stipulated by:
      28
             BUSH KORNFELD LLP
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              /s/ Thomas A. Buford
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             Thomas A. Buford, WSBA# 52969
        3    Richard B. Keeton, WSBA# 51537
             Attorneys for Debtors
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